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16
                             UNITED STATES DISTRICT COURT
17
                           NORTHERN DISTRICT OF CALIFORNIA
18
                                 SAN FRANCISCO DIVISION
19
   DANIEL LUNA, Individually and on Behalf of )   Case No. 3:15-cv-05447-WHA
20 All Others Similarly Situated,             )
                                              )   (Consolidated)
21                                Plaintiff,  )
                                              )   CLASS ACTION
22         vs.                                )
                                              )   [PROPOSED] ORDER REGARDING
23 MARVELL TECHNOLOGY GROUP, LTD., )              ATTORNEYS’ FEE AWARD
   et al.,                                    )
24                                            )
                                  Defendants. )
25                                            )

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            1         WHEREAS on April 20, 2018, the Court issued an Order Granting Motion for Final

            2 Approval of Class settlement of $72.5 million and Granting in Part Motion for Attorney’s Fees and

            3 Expenses;

            4         WHEREAS the Court awarded attorney’s fees in the amount of $13,602,481 with interest

            5 accrued and expenses of $496,656.65;

            6         WHEREAS the Court ordered that half of the attorney’s fee amount shall be paid after the

            7 effective date as defined in the Stipulation of Settlement, dated December 19, 2017, and the other

            8 half shall be paid when Lead Counsel certify that all funds have been properly distributed and the

            9 file can be completely closed;

       10             WHEREAS Lead Counsel certified on October 25, 2018, that the Net Settlement Fund of

       11 $58,352,114.32 was distributed to Authorized Claimants;

       12             IT IS HEREBY ORDERED that Lead Counsel shall be paid the second half of the attorneys’

       13 fee previously awarded in the amount of $6,801,240.50 plus interest accrued in the amount of

       14 $113,605.41 and that the Clerk of the Court is directed to close the file.

       15
                  October 25, 2018.
       16 DATED: _________________________                  ____________________________________
                                                            THE HONORABLE WILLIAM ALSUP
       17                                                   UNITED STATES DISTRICT JUDGE
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1480666_1       [PROPOSED] ORDER REGARDING ATTORNEYS’ FEE AWARD - 3:15-cv-05447-WHA                          -1-
